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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

    Civil Action No.: 16-cv-02304-WJM-GPG


    MEGAN MCFADDEN,
    LONNIE WHITE, and
    ANTONIO “A.J.”
    WHITE,

                      Plaintiffs,

    v.

    MEEKER HOUSING AUTHORITY,

                      Defendant.


         PLAINTIFFS’ SUPPLEMENTAL BRIEFING IN LIGHT OF COURT’S SUMMARY
                               JUDGMENT ORDER


              Plaintiffs Megan McFadden, Lonnie White, and A.J. White, by and through their

   attorneys, submit this Supplemental Briefing in Light of Court’s Summary Judgment Order

   in Response to ECF No. 470 and state as follows:

         SUPPLEMENTAL BRIEFING IN LIGHT OF COURT’S SUMMARY JUDGMENT
                                    ORDER

              On April 1, 2019, this Court ordered the parties to file supplemental briefing with

   respect to four pending motions found at ECF Nos. 421, 435, 440, and 441 in light of

   the Court’s Summary Judgment Order. See [ECF No. 470]. Plaintiffs’ supplemental

   briefing is as follows:

         I.      Plaintiffs’ Motion to Strike and Exclude Late-Disclosed and Improperly
                 Disclosed Witnesses and Exhibits [ECF No. 421]

              Plaintiffs do not believe that the Court’s Order granting in part Plaintiffs’ Motion

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   for Summary Judgment impacts its need to rule on Plaintiffs’ Motion to Strike and

   Exclude Late-Disclosed and Improperly Disclosed Witnesses and Exhibits [ECF No.

   421]. Ultimately, however, it is difficult for Plaintiffs to inform this Court as to what

   matters remain in dispute, as this Motion concerns Plaintiffs attempts to strike

   Defendant’s use of witnesses and evidence at trial. Thus, Plaintiffs’ motion remains

   relevant unless and until Defendant stipulates it will not to introduce any of these

   witnesses or evidence at trial. Except where noted below, Plaintiffs remain unaware of

   Defendant’s present intent regarding the matter..

          A. Relevance of Part I

          Plaintiffs continue to assert their position that Defendant should not be permitted

   to call at trial any witnesses previously undisclosed. On April 1, 2019, Defendant

   notified the Court and Plaintiffs that it no longer intends to call Tristan Goode, Gabrielle

   Garzon, Kayla Bolfinger, or Lonna Lee to testify. See Defendant’s Response to

   Plaintiffs’ Motion in Limine [ECF No. 474] at 3, n.1. Since then, Defendant has provided

   a Witness List to Plaintiffs indicating that outside of cross-designated witnesses, it only

   intends to call Ed Sands, Esq., Nicole Gorham, Esq., Lee Applegate, Esq., and James

   R. Murphy. See Ex. 1, Defendant’s Witness List - Draft.1 In turn, the only never-

   disclosed witnesses whose right to testify is in question are the following: Nicole

   Gorham, Esq., Lee Applegate, Esq., and James R. Murphy.

          B. Relevance of Part II

          Plaintiffs continue to assert their position that Defendant should not be permitted


   1
      Defendant has not yet filed their witness list, although the parties completed their conferral
   several hours ago. Because the filing has yet to be submitted, Plaintiffs cannot cite to the ECF
   filing for this Court’s ease of reference and instead must attach a draft version of Defendant’s
   Witness List.
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   to call at trial any improperly disclosed witnesses. Those witnesses are “Representative

   from Battlement Mesa Company” and “Representative of Town of Meeker.”

   Considering Defendant has not listed either on their Witness List, it appears that

   Plaintiffs’ request to exclude these witnesses from testifying at trial is now moot.

          C. Relevance of Part III

          Plaintiffs continue to assert their position that Defendant should not be permitted

   to call at trial any attorney witnesses, including Nicole Gorham, Esq., Lee Applegate,

   Esq., and Ed Sands, Esq. Pursuant to Defendant’s Response brief and their Witness

   List, Defendant intends to use such evidence at trial. [ECF No. 426] at Part E; Ex. 1.

          Further, it is unclear the relevance of Mr. Sands’ testimony in light of the Court’s

   order regarding summary judgment. Specifically, Defendant has only ever taken the

   position that Mr. Sands reviewed the June 2016 pet policy and that he provided advice

   on whether a security deposit could be charged for an assistance animal. From what

   little Defendant has disclosed, Mr. Sands did not provide any specific advice with

   respect to the Whites or Ms. McFadden, let alone consult on any of the retaliatory or

   interfering conduct of Defendant before Defendant took such actions.

          At most Mr. Sands’ testimony would be relevant to the question of intent with

   respect to damages under the Rehabilitation Act disability discrimination claim. As

   Plaintiffs have repeatedly informed Defendant, they are not seeking compensatory

   damages under the Rehabilitation Act. See, e.g., Plaintiffs’ Objections to Defendant’s

   Proposed Jury Instructions [ECF No. 482] at 5, n.1. Further, because Plaintiffs are not

   seeking punitive damages, Mr. Sand’s testimony is also not relevant to Plaintiffs’ Fair

   Housing Act disability discrimination claims.


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          In sum, Plaintiffs believe that in addition to the undue prejudice that warrants

   striking Mr. Sands, see Motion [ECF No. 421] at Part III.A, Mr. Sands should also be

   stricken as an irrelevant witness. Any attempts to solicit testimony as to these matters

   are likewise improper under FRE 403, as the testimony would unduly mislead or

   confuse the jury regarding the matters that remain at issue in the case.

          D. Relevance of Part IV

          Plaintiffs continue to assert their position that Defendant should not be permitted

   to use at trial any late-disclosed documents. Plaintiffs’ position is based not upon the

   content of each piece of evidence, but upon whether a party should be permitted to use

   any late-disclosed evidence at trial after having intentionally withheld thousands of

   pages of relevant and responsive documents throughout the pendency of the case.

   See, e.g., Plaintiffs’ Motion for Entry of Judgment [ECF No. 288]. Pursuant to

   Defendant’s Response brief, it appears Defendant intends to use such evidence at trial.

   See [ECF No. 426] at Parts A, B, C ,D. Defendant’s Exhibit List also includes the

   following late-disclosed documents as proposed exhibits for trial:

                 1/21/16 and 02/23/16 Affidavits of Service on Levi McFadden filed in Finnell
                  v. McFadden (MHA2 4333, 4343)
                 03/27/17 Gorham email (MHA3 520-521)
                 Aerial Photograph of Meeker, Colorado (MHA2 4348)
                 Photographs of Karen Court (MHA2 4349-4354)
                 Petition filed in In re Alivia J. McFadden (MHA2 4222-4225, 4236-4239)
                 Response to Petition filed in In re Alivia J. McFadden (MHA2 4246-4255)
                 Reply in support of Petition filed in In re Alivia J. McFadden, (MHA2 4256-
                  4261)2

   Ex. 2, Defendant’s Exhibit List – Draft.3


   2
    Plaintiffs have redacted the name of the exhibit as it concerns a court case regarding a minor.
   3
    Because Defendant has yet to file their exhibit list, Plaintiffs are attaching hereto the final draft
   version of the list they exchanged with Defendant over the lunch hour.
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            E. Relevance of Part V

            The Court previously struck Plaintiffs’ Part V as being more properly filed in a

   motion in limine. As such, there is no need to rule on this Part V as it stands.

      II.      Plaintiffs’ Motion to Strike Defendant’s Proffered Expert Witness
               Pursuant to Fed. R. Evid. 702 and Request for Daubert Hearing [ECF No.
               435]

            Plaintiffs do not believe that the Court’s Order granting in part Plaintiffs’ Motion

   for Summary Judgment impacts its need to rule on Plaintiffs’ Motion to Strike

   Defendant’s Proffered Expert Witness [ECF No. 435]. Specifically, Mr. McKenzie has

   provided no expert testimony with respect to the June and July 2016 pet policies.

   Instead, the expert testimony he purports to provide concerns the HUD regulatory

   framework as well as rebuttal testimony relating to Plaintiffs’ retaliation and interference

   claims. Because the Court’s summary judgment order did not dispose of these claims,

   the issues raised in the motion remain relevant.

            With that said, Defendant’s Witness List does not include Mr. McKenzie. See Ex.

   1. Insofar as Defendant is no longer calling Mr. McKenzie to testify, Plaintiffs’ request to

   preclude him from testifying as an expert is moot.

            A. Relevance of Argument, Part I

            Plaintiffs continue to assert their position that Mr. McKenzie is not qualified by

   knowledge, skill, experience, training, or education to render an expert opinion of any

   sort. Mr. McKenzie’s opinions do not purport to speak to Plaintiffs’ claims of disability

   discrimination. Because Mr. McKenzie’s opinions go to Plaintiffs’ retaliation and

   interference claims, this portion of Plaintiffs’ motion necessitates a ruling.




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            B. Relevance of Argument, Part II

            Plaintiffs continue to assert their position that Mr. McKenzie’s opinions are not

   reliable because they are not based on sufficient facts or data. Because Mr.

   McKenzie’s opinions go to Plaintiffs’ retaliation and interference claims, this portion of

   Plaintiffs’ motion necessitates a ruling.

            C. Relevance of Argument, Part III

            Plaintiffs continue to assert their position that Mr. McKenzie’s opinions are not

   reliable because his experience produces erroneous results. Again, because his

   opinions go to Plaintiffs’ retaliation and interference claims, this portion of Plaintiffs’

   motion necessitates a ruling insofar as Defendant intends to call Mr. McKenzie to testify.

            D. Relevance of Argument, Part IV

            Plaintiffs continue to assert their position that Mr. McKenzie intends to introduce

   a factual narrative under the guise of expert testimony and that insofar as he does, it

   should be stricken. This portion of Plaintiffs’ brief speaks to the impropriety of

   Defendant’s attempts to offer Mr. McKenzie’s “expert” opinions under the guise of lay

   testimony, and it should be considered in conjunction with the other portions of Plaintiffs’

   brief.

            E. Relevance of Argument, Part V

            Plaintiffs continue to assert their position that Mr. McKenzie considers

   Defendant’s interests to be his own and that he intends to testify as to the credibility of

   the parties based upon the record evidence in the case. This portion of Plaintiffs’ brief

   speaks to the impropriety of Defendant’s attempts to offer Mr. McKenzie as an expert

   witness given his clear biases and inappropriate bases for his purported expert


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   opinions, and it should be considered in conjunction with the other portions of Plaintiffs’

   brief.

       III.      Plaintiffs’ Amended Response to Defendant’s Amended FRE Motion to
                 Exclude Certain Opinion Testimony of Heather Staggs [ECF No. 447]

              Plaintiffs do not believe that the Court’s Order granting in part Plaintiffs’ Motion

   for Summary Judgment impacts its need to rule on Defendant’s Amended FRE Motion

   to Exclude Certain Opinion Testimony of Heather Staggs [ECF No. 440]. Specifically,

   Ms. Staggs has provided no expert testimony with respect to the June and July 2016

   pet policies. Instead, the expert opinions she provides concern the regulatory

   framework under which Defendant MHA operates and speak only to Plaintiffs’ retaliation

   and interference claims. As with Plaintiffs’ motion to strike Mr. McKenzie, the

   evidentiary issues regarding Ms. Staggs’s proposed testimony remain relevant.

              A. Relevance of Argument, Part A

              Plaintiffs continue to assert their position that Ms. Staggs is qualified to provide

   expert testimony regarding the regulatory framework under which housing providers

   operate. Because Ms. Staggs’ opinions go to Plaintiffs’ retaliation and interference

   claims, this portion of Plaintiffs’ response brief necessitates a ruling.

              B. Relevance of Argument, Part B

              Plaintiffs continue to assert their position that Ms. Staggs should be permitted to

   testify as to her expert opinions outside of any legal conclusions. Because Ms. Staggs’

   opinions go to Plaintiffs’ retaliation and interference claims, this portion of Plaintiffs’

   response brief necessitates a ruling.

              C. Relevance of Argument, Part C

              Plaintiffs continue to assert their position that Ms. Staggs’ expert opinions are
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   reliable. Because Ms. Staggs’ opinions go to Plaintiffs’ retaliation and interference

   claims, this portion of Plaintiffs’ response brief necessitates a ruling.

            D. Relevance of Argument, Part D

            Plaintiffs continue to assert their position that Ms. Staggs’ opinions are relevant

   to matters at issue in this case. Because Ms. Staggs’ opinions go to Plaintiffs’

   retaliation and interference claims, this portion of Plaintiffs’ response brief necessitates

   a ruling.

            E. Relevance of Argument, Part E

            Plaintiffs continue to assert their position that Ms. Staggs’ expert testimony will

   be helpful to the trier of fact. Because Ms. Staggs’ opinions go to Plaintiffs’ retaliation

   and interference claims, this portion of Plaintiffs’ response brief necessitates a ruling.

            F. Relevance of Argument, Part F

            Plaintiffs continue to assert their position that relevant case law demonstrates

   that courts have permitted expert testimony in a wide variety of cases. This portion of

   Plaintiffs’ brief speaks to relevant case law in support of the overall denial of

   Defendant’s Motion to Exclude.

      IV.      Plaintiffs’ Amended Response to Defendant’s Amended FRE 702 Motion
               to Exclude Opinion Testimony of Paul Mundell [ECF No. 448]

            Plaintiffs believe that the Court’s Order granting in part Plaintiffs’ Motion for

   Summary Judgment does not impact its need to rule on Defendant’s Amended FRE 702

   Motion to Exclude Opinion Testimony of Paul Mundell [ECF No. 441]. Specifically, even

   though Plaintiffs intended to call Mr. Mundell to opine with respect to Plaintiffs’ disability

   discrimination claims, Mr. Mundell also has expert testimony to provide relevant to

   Plaintiffs’ pre-litigation retaliation and interference claims. Defendant’s Motion to
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   Exclude does not seek to exclude specific opinions of Mr. Mundell so much as it argues

   that he should be stricken altogether as (1) unqualified to testify and (2) insofar as his

   opinions state legal conclusions. See generally ECF No. 441. Because Plaintiffs intend

   to call Mr. Mundell to testify, Defendant’s motion remains relevant.

      A. Relevance of Argument, Part A

          Plaintiffs continue to assert their position that Mr. Mundell is qualified to provide

   expert testimony regarding the use of assistance animals in housing. Because

   Defendant seeks to strike Mr. Mundell’s testimony in its entirety – in part on the grounds

   that he is not qualified to testify as an expert in this field – it is necessary for this Court

   to consider and rule on Part A of Plaintiffs’ Response brief.

      B. Relevance of Argument, Part B

          Plaintiffs continue to assert their position that Mr. Mundell be permitted to testify

   to his expert opinions outside of any legal conclusions. Because Defendant seeks to

   strike Mr. Mundell’s testimony in its entirety – in part on the grounds that he has

   provided legal conclusions in his opinions – it is necessary for this Court to consider and

   rule on Part B of Plaintiffs’ Response brief.

          Plaintiffs can attest that they will not be eliciting testimony regarding the following

   bullet points from Defendant’s Motion to Exclude [ECF No. 441]: p. 6, bullet point No. 4

   (re: use of term “handicap” versus “disabled”); p. 6, bullet point No. 5 (re: Title II of the

   ADA); p. 7, bullet point No. 10 (re: the first guideline in one of the pet policies); or p. 7,

   bullet point No. 11 (re: the pet policy being in violation of the FHA and Section 504).

   The information contained in the remaining bullet points may be necessary for

   background information or is relevant to Plaintiffs’ pre-litigation retaliation and


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    interference claims. Of course, Plaintiffs will not solicit any testimony in the form of a

    legal conclusion. See Response [ECF No. 448] at Part B.

       C. Relevance of Argument, Part C

           Plaintiffs continue to assert their position that Mr. Mundell will be helpful to the

    trier of fact. Plaintiffs only intend to have Mr. Mundell opine as to matters related to

    Plaintiffs’ retaliation and interference claims, as opposed to their disability discrimination

    claims, as well as to provide some background information on the specialized

    terminology used in this case. Because Defendant seeks to strike Mr. Mundell’s

    testimony in its entirety, it is necessary for this Court to consider and rule on Part C of

    Plaintiffs’ Response brief.

       D. Relevance of Argument, Part D

           Plaintiffs continue to assert their position that relevant case law demonstrates

    that courts have permitted expert testimony in a wide variety of cases. This portion of

    Plaintiffs’ brief speaks to relevant case law in support of the overall denial of

    Defendant’s Motion to Exclude.

                  Respectfully submitted this 3rd day of April 2019.

                                               s/ Laura B. Wolf
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                                CERTIFICATE OF SERVICE

          I hereby certify that on April 3, 2019, I electronically filed the foregoing
    PLAINTIFFS’ SUPPLEMENTAL BRIEFING IN LIGHT OF COURT’S SUMMARY
    JUDGMENT ORDER with the Clerk of the Court using the CM/ECF system, which will
    send electronic notification to the following:

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